      Case 1:23-cr-10094-PBS          Document 209         Filed 01/30/25     Page 1 of 26




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


                                                     )
UNITED STATES OF AMERICA                             )
                                                     )
       v.                                            )
                                                     )       Case No. 23-cr-10094-PBS
1) AMY WINSLOW,                                      )
2) MOHAMMAD HOSSEIN MALEKNIA,                        )
   and                                               )
3) REBA DAOUST,                                      )
                                                     )
                       Defendants.                   )
                                                     )

                               GOVERNMENT’S TRIAL BRIEF

       The United States submits this brief in advance of trial, which is scheduled to commence

on April 7, 2025.

I.     Case Summary

       The company and its devices

       Magellan Diagnostics, Inc., headquartered in Billerica, Massachusetts, is the nation’s

leading manufacturer of medical devices for testing lead levels in the blood of children and adults.

During the relevant time, Magellan’s stable of blood lead level testing devices included LeadCare

II, LeadCare Ultra, and LeadCare Plus.




      LeadCare II (2006)               LeadCare Ultra (2013)            LeadCare Plus (2015)
    Point-of-care device that      High-volume lab instrument that    Small-volume lab instrument
 analyzed fingerstick and venous   analyzed venous and fingerstick     that analyzed venous and
             samples.                         samples.                    fingerstick samples.
      Case 1:23-cr-10094-PBS           Document 209        Filed 01/30/25      Page 2 of 26




       Each of the LeadCare devices works by collecting a blood sample—either from a vein,

known as a venous test, or through a finger-stick, known as a capillary test—and mixing the sample

with a chemical, called a treatment reagent, that separates lead from red blood cells so that it can

be detected. That mixture is placed onto a sensor that goes into the Magellan device for a blood

lead level reading.

       According to the Centers for Disease Control and Prevention (CDC), there is no safe level

of lead in the blood. Further, as reflected on Magellan’s LeadCare devices’ package inserts,

“childhood lead poisoning is a major, preventable problem in the United States. Numerous studies

have shown that exposure to lead can result in damage to the nervous, hematopoietic, endocrine,

renal, and reproductive systems causing irreversible lifelong physical and mental health problems.

Children are particularly susceptible to the effects of lead as their nervous systems are still

developing.” Lead exposure may damage children’s ability to learn, ability to pay attention, and

academic achievement. High levels of lead exposure attack the brain and central nervous system

and may cause coma, convulsions, and even death. Accurate testing and monitoring of blood lead

levels is an important part of lead poisoning prevention efforts.

       In 2012, the CDC introduced a medical threshold at blood lead levels of 5 micrograms per

deciliter to identify children and adults who have elevated blood lead levels. At that level, the CDC

recommended that healthcare providers obtain from their patients an environmental exposure

history to identify potential sources of lead and arrange for an environmental investigation of the

patient’s home to check the environment for possible causes of lead exposure and recommend

ways to prevent further lead exposure. The CDC also recommended follow-up lead testing at

recommended intervals for children with levels of 5 micrograms per deciliter or higher. If the blood

lead test result was below 5, doctors typically would not intervene in this way. The CDC



                                                 2
      Case 1:23-cr-10094-PBS          Document 209         Filed 01/30/25     Page 3 of 26




recommended additional interventions by doctors, including hospitalization, at higher blood lead

level thresholds.

       The defendants

       Defendant Amy Winslow was appointed Magellan’s President and CEO in 2011. In 2012,

defendant Hossein Maleknia joined Magellan as Chief Operating Officer and Vice President of

Operations and soon hired defendant Reba Daoust as Manager and Director of Quality Assurance

and Regulatory Affairs. By the time the defendants joined Magellan, LeadCare II was a well-

established legacy product for point-of-care (mostly pediatricians’ offices) blood lead testing, and

it had obtained significant market share of blood lead tests conducted in the United States. None

of the defendants was involved in the FDA submission and approval process when LeadCare II

was cleared in 2006, but all of the defendants were involved in Magellan’s testing, application for

FDA clearance, and sales launch of the LeadCare Ultra device in 2012-2013.

       LeadCare Ultra application for FDA clearance (November 2012)

       In November 2012, Magellan sought clearance from the FDA to market the LeadCare

Ultra, which was intended for laboratory use in testing blood lead levels. Instead of seeking pre-

market approval as a new device, Magellan submitted a traditional 510(k) application1 for

LeadCare Ultra, claiming that it was substantially equivalent to the already-cleared LeadCare II

device, which was used primarily in doctors’ offices. Daoust had primary responsibility over

regulatory affairs and was one of a handful of individuals at the company in charge of clinical

testing and FDA submissions. Winslow and Maleknia were aware of and involved in Magellan’s

FDA submissions and both knew how important LeadCare Ultra’s market success was to




       1
         Such applications are authorized by Section 510(k) of the Food, Drug, and Cosmetics
Act, 21 U.S.C. Chapter 9.
                                                 3
      Case 1:23-cr-10094-PBS          Document 209         Filed 01/30/25     Page 4 of 26




Magellan’s private equity owners, who had tasked Winslow and Maleknia with positioning

Magellan for sale.

       Discovery of the Malfunction (June 2013)

       In January 2013, the FDA put Magellan’s LeadCare Ultra 510(k) application on hold and

requested additional studies, including studies about how the device performed under different

temperature and humidity conditions. In June 2013, while performing the FDA-requested studies,

Magellan discovered a malfunction2 affecting the LeadCare Ultra device (the “Malfunction”) that

caused blood lead test values to be lower than actual values under certain conditions. Specifically,

lead values tended to be lower than the reference standard when blood samples were tested

immediately and would rise over time as the blood samples incubated in treatment reagent. These

results were contrary to the device’s label, which promised an accurate result if the samples were

tested immediately, without any incubation. Daoust was one of the first employees to learn about

the Malfunction. She informed Winslow and Maleknia about the Malfunction the day after she

received the unexpectedly and consistently low blood lead value results, but none of the defendants

ever reported the results to the FDA. Instead, Magellan conceived a different temperature and

humidity study, which did not contain any actual blood lead measurements, and reported those

results to the FDA as part of the LeadCare Ultra 510(k) application. The FDA—unaware of the

Malfunction—cleared LeadCare Ultra for marketing and distribution in August of 2013. However,

the defendants—concerned about the Malfunction—delayed the planned LeadCare Ultra market

launch to conduct further tests.



       2
          “Malfunction means the failure of a device to meet its performance specifications or
otherwise perform as intended. Performance specifications include all claims made in the labeling
for the device. The intended performance of a device refers to the intended use for which the device
is labeled or marketed, as defined in § 801.4 of this chapter.” 21 C.F.R. § 803.3(k) (emphasis in
original).
                                                 4
      Case 1:23-cr-10094-PBS          Document 209        Filed 01/30/25         Page 5 of 26




       LeadCare Ultra launch (December 2013) and customer complaints (August 2014)

       After multiple tests confirming the Malfunction, and tests indicating that the Malfunction

also affected the already cleared and widely used LeadCare II device, Magellan released LeadCare

Ultra for sale to customers in December of 2013. The defendants did not notify potential customers

or the FDA about the Malfunction prior to the release of LeadCare Ultra, nor did it notify the FDA

or its LeadCare II customers that the Malfunction also affected LeadCare II, which had been on

the market since 2006.

       In August 2014, three LeadCare Ultra customers notified Magellan that they were getting

false low results when they tested immediately but that the lead values went up over time. In other

words, the customers were complaining that they were seeing the Malfunction that the defendants

first observed in June of 2013. Continuing through October 2014, Magellan received similar

complaints from other customers, who reported inaccurate lead test results, test results that were

significantly lower than expected, and false lows below CDC’s medical thresholds when the

samples were tested immediately. The defendants ordered further internal tests, which confirmed

the Malfunction and indicated that incubating (i.e., letting the blood sample/treatment reagent

mixture rest) for at least 24 hours before testing was necessary to produce accurate results, but

even that lengthy period of incubation did not solve the problem in all cases.

       LeadCare Ultra customer letter (November 2014)

       On November 24, 2014, Magellan’s Marketing Director sent LeadCare Ultra customers a

letter about the Malfunction, which was drafted by Daoust, edited by Winslow, and approved by

Maleknia. The letter contained several false and misleading statements that misrepresented the

frequency of the error and when Magellan discovered the Malfunction. The letter also advised

customers to incubate the blood sample/treatment reagent mixture for 24 hours before running the



                                                 5
      Case 1:23-cr-10094-PBS          Document 209       Filed 01/30/25      Page 6 of 26




test—a significant change to the LeadCare Ultra’s product label, which allowed immediate testing

upon mixing the blood sample and treatment reagent. The FDA later found that Magellan’s own

studies did not support the claim that the 24-hour incubation period sufficiently mitigated the

problem. The defendants did not notify the FDA about the Malfunction when they sent the

customer letter, much less get the FDA’s approval for the change of instructions.

       Significantly late filing of the LeadCare Ultra MDR (April 2015)

       Magellan finally notified the FDA about the Malfunction and the company’s unilateral,

unapproved change to LeadCare Ultra’s user instructions in April 2015, after an outside consultant

learned of the Malfunction and threatened to tell the FDA if Magellan did not. The Medical Device

Report (MDR)3 Magellan submitted to the FDA was false and misleading in several ways. First,

like the November 2014 customer letter, the MDR concealed the severity and prevalence of the

Malfunction and when Magellan first learned of it. Second, the MDR misrepresented the reason

for the late submission. Third, the MDR misrepresented the number of complaining customers.

And fourth, the MDR falsely represented that 24 hours’ incubation was a complete mitigation for

the Malfunction.4



       3
         An MDR is one of the postmarket surveillance tools the FDA uses to monitor device
performance, detect potential device-related safety issues, and contribute to benefit-risk
assessments of these products. See https://www.fda.gov/medical-devices/medical-device-
safety/medical-device-reporting-mdr-how-report-medical-device-problems (last accessed on
January 30, 2025).
       4
          The FDA received hundreds of thousands of MDRs in 2015, and this MDR did not receive
sufficient attention for various reasons. As a result, the FDA did not follow up with Magellan at
the time. See, e.g., https://www.fda.gov/medical-devices/medical-device-safety/medical-device-
reporting-mdr-how-report-medical-device-problems (last accessed on January 30, 2025)
(“[A]lthough MDRs are a valuable source of information, this passive surveillance system has
limitations. The incidence, prevalence, or cause of an event cannot be determined from this
reporting system alone due to under-reporting of events, inaccuracies in reports, lack of
verification that the device caused the reported event, and lack of information about frequency of
device use.”).
                                                6
      Case 1:23-cr-10094-PBS           Document 209         Filed 01/30/25       Page 7 of 26




       Discovery of possible root cause (Summer 2015)

       A few months later, in the summer of 2015, Magellan identified what it believed was a

possible root cause of the Malfunction: a substance in the rubber stopper of commonly used test

tubes manufactured by Becton Dickinson (referred to as Brand X in the Indictment) interfered with

the LeadCare devices’ ability to detect lead accurately and caused test results to be lower than

expected.

       Sale of Magellan to Meridian Bioscience (March 2016)

       Also in the summer of 2015, private-equity-owned Magellan engaged an investment bank

with intent to sell the company. Magellan’s board of directors tasked Winslow and Maleknia with

increasing Magellan’s value to better position the company for sale—by expanding its LeadCare

product line, enlarging its market share for LeadCare II, and developing new blood testing

devices—and linked their performance to lucrative financial incentives. In March 2016, Meridian

Bioscience, Inc., acquired Magellan for $66 million. In connection with the sale, Winslow and

Maleknia received bonuses of approximately $2 million and $400,000, respectively.

       Significantly late notification to FDA about LeadCare II malfunction (November 2016)

       In November 2016, after the sale to Meridian, over three years after the defendants first

discovered the Malfunction in LeadCare II, and more than two years after conducting additional

internal studies that confirmed the appearance of the Malfunction in LeadCare II and LeadCare

Ultra, the defendants finally notified the FDA and some customers that the Malfunction also

impacted LeadCare II. In doing so, however, they made false and misleading statements about

when they discovered the problem in LeadCare II. Daoust authored a cover letter and MDR falsely

stating that LeadCare II did not originally exhibit the issue and it was only after Magellan identified




                                                  7
      Case 1:23-cr-10094-PBS          Document 209        Filed 01/30/25      Page 8 of 26




the root cause of the problem in LeadCare Ultra that it checked to see if LeadCare II was also

impacted.

       Recall of the LeadCare devices (May 2017)

       In March 2017, Magellan filed a special 510(k) application to change the labels for

LeadCare Ultra and a new product, LeadCare Plus, to allow customers to test the blood-reagent

mixture after either 24 hours of incubation or just one hour of incubation if the sample was heated

to 60° C. The application triggered urgent questions from the FDA about the Malfunction and its

effect on the accuracy and safety of LeadCare devices.

       The FDA was particularly focused on when Magellan first discovered the Malfunction,

because the date of discovery determined the number of patients who could have received false

test results. During an April 20, 2017 conference call, an FDA official asked Magellan

representatives when Magellan first discovered the Malfunction. Based on input from Daoust and

Maleknia before the call, and at the direction of Daoust during the call, a Magellan consultant

falsely told the FDA that Magellan had first discovered the problem in late 2014 after receiving

customer complaints.

       The FDA ultimately found that Magellan’s own data showed that the LeadCare devices

could not accurately measure lead levels in blood samples drawn from a vein, regardless of the

recommended incubation times. In May 2017, the FDA recommended a Class I recall—the most

serious recall—of all LeadCare devices using venous samples and warned the public not to use

them for venous samples because of the Malfunction.5




       5
          The recall was limited to venous samples because Magellan told the FDA that their
studies showed the Malfunction did not occur in capillary (fingerstick) samples.
                                                8
          Case 1:23-cr-10094-PBS          Document 209       Filed 01/30/25     Page 9 of 26




II.       Evidence

          The government expects to present the following categories of evidence at trial, subject to

revision based on ongoing witness preparation and trial planning.

          A.       Witnesses6

                   1. Federal agency witnesses

          In addition to the testimony of Dr. Adrienne Ettinger (CDC) and Dr. Courtney Lias (FDA),

which was described and discussed in detail in connection with the Daubert motions, the

government expects other current and former FDA employees to testify about their involvement

with Magellan and communications with the defendants. Those potential witnesses include:

         Matthew Humbard, a senior FDA employee involved with the FDA’s recall investigation

          in 2017, who is expected to testify, among other things, about the potential impact on FDA

          decision-making from false statements that Magellan representatives, including Daoust,

          made about the Malfunction to the FDA during the above-referenced call on April 20,

          2017, that was recorded by Magellan; and

         Ian Pilcher, an FDA inspector present for the for-cause, on-site inspection of Magellan

          after the 2017 recall, who is expected to testify about information discovered during the

          inspection and statements made by Winslow, Maleknia, and Daoust in response to

          questions about the Malfunction.

                   2. Former Magellan employees/consultants

          The government expects several former Magellan employees and consultants to testify

about the work they performed on LeadCare devices, particularly in relation to the Malfunction,

and their communications with the defendants. Potential witnesses include:



          6
              The government provided its witness list to the defendants on December 20, 2024.
                                                   9
    Case 1:23-cr-10094-PBS         Document 209         Filed 01/30/25      Page 10 of 26




    Rosemary Feeney, former Research and Development Manager and Project Leader for

     LeadCare Ultra, who is expected to testify about how and when the Malfunction was

     initially discovered; tests she designed and conducted to identify the root cause of, and

     mitigate the impact of, the Malfunction; her involvement with Magellan’s regulatory

     submissions to the FDA and communications to customers about the Malfunction; and

     statements made by Winslow, Maleknia, and Daoust about the Malfunction;

    Mike West, former product support and sales/marketing representative, who is expected to

     testify about the experiment he ran in June 2013 that revealed the Malfunction; his

     communications with other Magellan employees about the Malfunction; and statements

     made by Winslow, Maleknia, and Daoust about the Malfunction;

    Susan Garramone, former Research and Development scientist for LeadCare devices, who

     is expected to testify about how and when the Malfunction was initially discovered; tests

     she designed and conducted to identify the root cause of, and mitigate the impact of, the

     Malfunction; and statements made by Winslow, Maleknia, and Daoust about the

     Malfunction;

    Jan Krouwer, a statistics consultant hired by Magellan, who is expected to testify that, after

     he reviewed data provided by Magellan relating to the Malfunction, he told the defendants

     that if they did not report the Malfunction to the FDA, he would;

    Marcia Zucker, a regulatory consultant hired by Magellan, who is expected to testify about

     the advice she provided to the defendants about their regulatory obligations in connection

     with the Malfunction; her involvement in communicating to the FDA and customers about

     the Malfunction; and statements made by Winslow, Maleknia, and Daoust about the

     Malfunction; and


                                              10
       Case 1:23-cr-10094-PBS        Document 209        Filed 01/30/25      Page 11 of 26




       Liesl Sheehan, a public relations consultant hired by Magellan, who is expected to testify

        about preparing for and traveling to Washington, DC with Winslow to brief congressional

        staffers after the 2017 recall, and about false and/or misleading statements Winslow made

        during the briefings.

               3. Magellan customer witnesses

        The government expects to call witnesses who used Magellan LeadCare devices in their

professional capacity. Potential witnesses include:

       Dr. Hong Lee, clinical chemist for Northshore (IL) Health System (Charged Wire Fraud

        Count 2), who is expected to testify that she immediately stopped using LeadCare Ultra

        after she received the recall notice in 2017, and that she would have stopped using the

        device sooner if she had known about the Malfunction sooner;

       Charity Kamau, Nienke de Wilde, or Elsa Tran, employees of Medecins Sans Frontieres

        (MSF)/Doctors Without Borders (Charged Wire Fraud Count 3), who are expected to

        testify about MSF’s purchase and use of LeadCare II in Africa, and the false and/or

        misleading nature of statements made by Magellan employees, including Winslow and

        Daoust, about the Malfunction and when it was discovered and how it was communicated

        to customers; and

       Lindsay Gauthier, a lab manager for Cambridge (MA) Hospital, who is expected to testify

        about her lab’s involvement in Magellan’s pre-clearance clinical studies and post-clearance

        requests for patient samples for LeadCare Ultra, and that she would not have recommended

        her lab purchase LeadCare Ultra in 2014 if she had known that the Malfunction had been

        discovered in 2013, months before the company released the device for sale.




                                                11
       Case 1:23-cr-10094-PBS         Document 209         Filed 01/30/25      Page 12 of 26




               4. Witnesses involved in the sale of Magellan to Meridian

        The government expects to call witnesses who participated in the sale of Magellan to

Meridian Bioscience, Inc. in 2015-2016. Potential witnesses include:

       Bryan Lookatch, an investment banker representing Magellan in the sale of the company,

        who is expected to testify that full disclosure of the severity and impact of the Malfunction

        would have impeded the sale of Magellan; and

       Brian Baldasare, the point person for Meridian in connection with its acquisition of

        Magellan, who is expected to testify that Magellan did not fully disclose the severity and

        impact of the Malfunction on LeadCare Ultra and did not disclose at all that the

        Malfunction impacted LeadCare II.

               5. Patient harm witnesses

        The government expects to call parents and treating physicians of pediatric patients who

received normal blood lead test results on a LeadCare device before the recall but elevated results

when retested following the recall. Potential witnesses include:

       Jared Ellis (father) and Dr. Lauren Conca (pediatrician) for patient Michael Ellis;

       Rebecca Harstad-Dallman (mother) and Dr. Nancy Dronen (pediatrician) for patient Austin

        Dallman; and

       Colleen Mulligan (mother) and Dr. Jeremy Warhaftig (pediatrician) for patient Simon

        Thomas.

        For each patient, the pediatrician is expected to testify about their treatment of the patient

in connection with routine blood lead testing, including the results of blood lead tests on LeadCare

devices before the recall and the results of retesting on non-LeadCare devices after the recall, and

the impact of those results on the pediatrician’s course of treatment. The parent of each patient is


                                                 12
       Case 1:23-cr-10094-PBS         Document 209       Filed 01/30/25      Page 13 of 26




expected to testify about their observations of their child’s developmental delays, the steps they

took to determine and then mitigate the source of their child’s lead exposure, and the additional

medical treatment the child required after receiving the elevated blood lead level result on a non-

LeadCare device.

        In addition, the government expects to call:

       Dr. Mona Hanna-Attisha, pediatrician in Flint, MI, who discovered the lead water

        contamination issue and alerted the public to the problem, and who is expected to testify

        about her role in working with public health officials to create and execute an extensive

        blood lead testing program for Flint residents; and about the potential impact of

        Magellan’s, including Winslow’s, false and/or misleading statements about the accuracy

        of LeadCare II devices.

               6. Law enforcement witnesses

        The government expects to call retired Special Agent Benedict Celso of the FDA’s Office

of Criminal Investigations (FDA-OCI), to testify about statements that Daoust made during her

first interview with him in August of 2018. The government may also call Special Agent Scott

Wisnaskas of the Department of Health and Human Services Office of Inspector General (HHS-

OIG), who is expected to provide testimony about the investigation of the defendants and

foundational testimony for the admission of various records. SA Wisnaskas is also expected to

summarize and/or read in portions of relevant records, including summaries of relevant tests and

statements by the defendants.

               7. Records custodians

        As described below, the government will seek to introduce into evidence various email

communications; internal Magellan testing protocols and results; meeting agendas, minutes and



                                                13
       Case 1:23-cr-10094-PBS         Document 209        Filed 01/30/25      Page 14 of 26




notes; personnel files; FDA regulatory submissions and communications with FDA personnel; and

other business records to prove that the defendants committed the charged crimes. These records

are admissible under FRE 803(6) as records of a regularly conducted activity and/or under FRE

803(8) as public records and are self-authenticating under one or more subsections of FRE 902.

While the government does not believe more is required to establish the admissibility of the offered

records, the government will be prepared to introduce testimony from records custodians if

required.

        B.     Exhibits

        The government provided its exhibit list to the defendants on December 20, 2024, and will

continue to revise and refine that list as it prepares for trial. Broadly speaking, the government’s

exhibits consist of emails, notes, text messages, calendar entries, presentations, sales data,

marketing materials, device labeling, testing protocols and reports, and regulatory filings of the

defendants, the defendants’ coconspirators, Magellan’s employees and consultants, Magellan’s

customers, and relevant personnel from the FDA, CDC, Meridian Bioscience, Inc., and Magellan’s

board of directors.

III.    Charged offenses

        The grand jury returned an indictment on April 3, 2023 charging defendants Winslow,

Maleknia, and Daoust with conspiracy to commit wire fraud (Count One), substantive wire fraud

(Counts Two and Three), conspiracy to defraud an agency of the United States (the FDA) (Count

Four), and two felony violations of the Food, Drug and Cosmetics Act (FDCA) for introducing

misbranded devices into interstate commerce with intent to defraud or mislead (Counts Five and

Six). The elements of the charged crimes are set forth below.




                                                14
     Case 1:23-cr-10094-PBS           Document 209        Filed 01/30/25      Page 15 of 26




       A.      Wire Fraud, 18 U.S.C. § 1343 (Counts Two and Three)

       To prove wire fraud under § 1343, the government must prove:

               1. a scheme, substantially as charged in the indictment, to defraud or to obtain
                  money or property by means of materially false or fraudulent pretenses;

               2. defendants’ knowing and willful participation in this scheme with the intent to
                  defraud; and

               3. the use of an interstate wire communication, on or about the date alleged, in
                  furtherance of this scheme.

       To secure a wire fraud conviction, the government “need not prove that the decisionmaker

actually relied on the falsehood, so long as the falsehood that was made is a material one. To prove

materiality, the government need only show that the false statement had a natural tendency to

influence, or was capable of influencing, its target’s decision.” United States v. Cadden, 965 F.3d

1, 12 (1st Cir. 2020) (cleaned up) (citing United States v. Prieto, 812 F.3d 6, 13 (1st Cir. 2016);

United States v. Appolon, 715 F.3d 362, 368 (1st Cir. 2013)).

       B.      Conspiracy to Commit Wire Fraud, 18 U.S.C. § 1349 (Count One)

       To prove a conspiracy to commit wire fraud under § 1349, the government must prove:

               1. an agreement between two or more persons to commit wire fraud, substantially
                  as charged in the indictment; and

               2. the defendants willfully joined the agreement, intending that wire fraud be
                  committed.

       The government need not prove an overt act to secure a conviction for wire fraud

conspiracy under § 1349. See United States v. Clough, 978 F.3d 810, 816 n.11 (1st Cir. 2020);

United States v. Iwuala, 789 F.3d 1, 9 (1st Cir. 2015) (“To prove conspiracy to commit health-care

fraud under 18 U.S.C. § 1349, the government must prove beyond a reasonable doubt that an

agreement existed to commit the underlying substantive offense (here, health-care fraud under 18




                                                15
     Case 1:23-cr-10094-PBS           Document 209        Filed 01/30/25      Page 16 of 26




U.S.C. § 1347), that the defendant knew of the agreement, and that he voluntarily joined it with

the intent to commit the underlying offense.”).

       C.      Conspiracy to Defraud an Agency of the United States, 18 U.S.C. § 371 (Count
               Four)

       Section 371 “proscribes two different conspiracies: one to commit a specific offense, the

‘offense clause,’ and the other to defraud the United States ‘in any manner or for any purpose,’ the

‘defraud clause.’” United States v. Barker Steel Co., Inc., 985 F.2d 1123, 1129 (1st Cir. 1993)

(quoting United States v. Hurley, 957 F.2d 1, 3 (1st Cir. 1992)). “The defraud clause of § 371

encompasses conspiracies that seek to interfere with government functions.” United States v.

Carter, 15 F.4th 26, 30 (1st Cir. 2021) (cleaned up).

       To prove a conspiracy to defraud the United States, or any agency thereof (here, the FDA),

under § 371, the government must prove:

               1. an agreement between two or more persons to defraud the FDA, substantially
                  as charged in the indictment, and

               2. the defendants willfully joined the agreement, intending to defraud the FDA;
                  and

               3. one of the conspirators committed an overt act during the period of the
                  conspiracy in an effort to further the purpose of the conspiracy.

       The objective of the agreement is unlawful if it is “for the purpose of impairing, obstructing

or defeating the lawful function of any department of Government.” Dennis v. United States, 384

U.S. 855, 861 (1966) (cleaned up) (quoting Haas v. Henkel, 216 U.S. 462, 479 (1910)).

       D.      Introduction of Misbranded Devices into Interstate Commerce with Intent to
               Defraud and Mislead, 21 U.S.C. §§ 331(a), 333(a)(2) (Counts Five and Six)

       To prove a felony violation of the FDCA for introducing or causing the introduction of a

misbranded medical device into interstate commerce, the government must prove:

               1. the defendants introduced or caused to be introduced into interstate commerce
                  the medical device described in the indictment;

                                                  16
      Case 1:23-cr-10094-PBS          Document 209        Filed 01/30/25      Page 17 of 26




               2. this medical device was misbranded at the time of its introduction; and

               3. the defendants acted with intent to defraud or mislead.

       Count Five alleges that the LeadCare Ultra and LeadCare II devices were misbranded

because they were distributed to customers outside Massachusetts even though necessary medical

device reports (MDRs) reporting product malfunctions had not been filed with the FDA.

       Count Six alleges that the LeadCare Ultra and LeadCare II devices were misbranded

because they were distributed to customers outside Massachusetts with instructions to incubate the

blood-treatment reagent samples for 24 hours, even though (i) the defendants failed to provide the

FDA pre-market notification at least 90 days before distributing a significantly changed device

and (ii) the defendants did not file the necessary reports of device correction initiated to reduce a

risk to health posed by the device.

IV.    Evidentiary Issues

       A.      Preadmission of business and public records under FRE 803

       As noted above, the government intends to prove the charged crimes with evidence that

includes various emails, notes, calendar entries, presentations, sales data, marketing materials,

device labeling, testing protocols and reports, and regulatory filings. These materials are

admissible under the hearsay exception for records of regularly conducted activity pursuant to FRE

803(6). The government will introduce certifications pursuant to FRE 902(11) for these business

records. The government also may introduce certain public records under FRE 803(8). Rule 803(8)

provides an exception to the hearsay rule for public records from a public agency or office, relating

to an activity of the office. “Records kept . . . [b]y public agencies may be admissible under the

business records exception, Fed. R. Evid. 803(6), as well as under the public records exception,

Fed. R. Evid. 803(8).” United States v. Bohrer, 807 F.2d 159, 162 (10th Cir. 1986) (internal



                                                 17
     Case 1:23-cr-10094-PBS          Document 209         Filed 01/30/25     Page 18 of 26




citations omitted). Because these records are self-authenticating under one or more subsection of

FRE 902, the government intends to seek their admission into evidence prior to the start of trial.

       B.      Summaries of voluminous records under FRE 1006

       The government may seek to admit exhibits that summarize voluminous medical and

business records. These “summary tools” are admissible “to clarify complex testimony and

evidence” under FRE 1006. See United States v. McElroy, 587 F.3d 73, 81 (1st Cir. 2009); see

also Appolon, 695 F.3d at 61–62 (1st Cir. 2012) (affirming admission of summary exhibits that

obviated the need for “the jury to sift through mortgage and sale records for each of the twenty-

one properties involved in appellants’ scheme and also facilitated tracing the scheme’s proceeds”)

(cleaned up). Summary exhibits are admissible either individually or in addition to the underlying

records. United States v. Milkiewicz, 470 F.3d 390, 396–97 (1st Cir. 2006) (“While in most cases

a Rule 1006 chart will be the only evidence the fact finder will examine concerning a voluminous

set of documents, in other instances the summary may be admitted in addition to the underlying

documents to provide the jury with easier access to the relevant information.”) (cleaned up). And

the government may also elicit testimony to describe and explain the summary exhibits. McElroy,

587 F.3d at 81 (“[S]ummary witness testimony may be permitted pursuant to Rule 611(a).”) (citing

Milkiewicz, 470 F.3d at 397–98 and United States v. Stierhoff, 549 F.3d 19, 27–28 (1st Cir. 2008));

Appolon, 695 F.3d at 63 (affirming introduction of summary witness testimony where testimony

“was limited to introducing and explaining the summary charts [the summary witness] prepared”).

       C.      Expert testimony under FRE 702

       As previously briefed and discussed at the Daubert hearing on January 23, 2025, the

government intends to present testimony from Dr. Courtney Lias (FDA) and Dr. Adrienne Ettinger

(CDC) pursuant to FRE 702 (in addition to certain fact and lay opinion testimony). The parties



                                                18
     Case 1:23-cr-10094-PBS           Document 209        Filed 01/30/25      Page 19 of 26




will meet and confer before the next scheduled Daubert hearing on February 10, 2025 in an effort

to reach agreement about the admissibility of opinions offered by Dr. Lias, Dr. Ettinger, and the

defense experts, Dr. William Banner and Phillip Phillips. The government understands that the

Court may also consider testimony from certain former Magellan scientists and consultants to fall

within the scope of Rule 702. Accordingly, the government will supplement its prior disclosure of

those witnesses’ anticipated testimony with their CVs and publications.

       D.      Lay opinion testimony under FRE 701

       In addition to the expert testimony just discussed, the government expects to offer lay

opinion testimony from other, non-scientist Magellan employees, Magellan customers, FDA

personnel, and treating pediatricians pursuant to FRE 701. In addition to providing fact testimony

regarding their relevant work experience, use of LeadCare devices in labs and at the point of care,

review of and communications with Magellan about its regulatory submissions regarding the

Malfunction, and/or routine treatment of patients, the government expects these witnesses will

give lay opinion testimony related to the expected performance of the LeadCare devices,

interpretation of information provided in regulatory filings, and/or medical treatment decisions. In

each case, the opinion testimony will be grounded in their personal, on-the-job experience and

based on the kinds of logical inference available to the average person (e.g., that a blood lead test

result should be constant and not increase over time, or that the failure of a medical device to

perform to its label specifications is a “malfunction,” or that a pediatrician would make decisions

about how to treat a patient depending on the patient’s blood lead level).

       Such testimony is properly considered lay opinion testimony and is admissible under FRE

701. In United States v. Galatis, the First Circuit upheld the admission of testimony from

employees of a home health agency that included the witnesses’ opinions about whether their

patients were “homebound” and in need of “skilled nursing” services, finding that “testimony to a
                                                 19
     Case 1:23-cr-10094-PBS           Document 209        Filed 01/30/25      Page 20 of 26




witness’s understanding of regulatory language can be included pursuant to FRE 701 if it does not

seek to offer a conclusive commentary on the law’s meaning and is the product of a reasoning

process accessible to the average person.” 849 F.3d 455, 461 (1st Cir. 2017). The lay opinion

testimony of all of these witnesses will no doubt be subject to reliability testing through vigorous

cross-examination, effectively mitigating any issue with allowing the testimony. See id. (holding

that the properly admitted lay opinion testimony was “susceptible to cross-examination”); United

States v. Ayala-Pizarro, 407 F.3d 25, 28 (1st Cir. 2005) (same).

       E.      Co-conspirator statements under FRE 801(d)(2)(E)

       The charges in this case include conspiracy to commit wire fraud and conspiracy to defraud

an agency of the United States (the FDA). For the reasons set forth in the motion in limine filed

with the Court today, the government seeks to introduce the out-of-court statements of the

defendants’ co-conspirators pursuant to FRE 801(d)(2)(E). As noted in the government’s motion,

the out-of-court statements of the defendants and their co-conspirators may also be admissible

under FRE 801(d)(2)(A)-(D) and under one or more of the exceptions to hearsay set forth in FRE

803. For example, the defendants’ statements, if offered by the government, are non-hearsay

because they are statements of a party opponent. Fed. R. Evid. 801(d)(2)(A). The government may

also introduce statements, whether oral or written, of third parties to provide necessary context or

background to understand the defendants’ statements. See, e.g., United v. Page, 521 F.3d 101, 106

(1st Cir. 2008); United States v. Catano, 65 F.3d 219, 225 (1st Cir. 1995).

       F.      Evidence of other acts intrinsic to the fraud scheme or under FRE 404(b)

       The government disclosed to the defendants on December 20, 2024 its intent to introduce

evidence of other acts intrinsic to the fraud scheme and/or admissible under FRE 404(b).

Specifically, the government seeks to introduce evidence concerning the defendants’ decision to



                                                20
     Case 1:23-cr-10094-PBS          Document 209        Filed 01/30/25       Page 21 of 26




file an MDR for two instances of false low reporting of blood lead values by LeadCare II devices

in 2013 due to reasons unrelated to the Malfunction at issue in this case. Under Rule 404(b),

evidence of other acts “may be admissible for another purpose, such as proving motive,

opportunity, intent, preparation, plan, knowledge, identity, absence of mistake, or lack of

accident.” Fed R. Evid. 404(b)(2). In this case, evidence of prior compliance with the MDR

reporting regulations is relevant to prove the defendants’ knowledge of the law, absence of mistake

or accident, opportunity to file an MDR, intent to mislead and defraud in connection with the

delayed filings over the Malfunction, and a motive and plan to delay filing when there was no root

cause or effective mitigation in place. See, e.g., United States v. Scali, 2018 WL 461441, at *5–6

(S.D.N.Y. Jan. 18, 2018) (evidence of defendant’s tax filing history admissible to prove

“willfulness and corrupt intent”); United States v. Gilmartin, 684 F. App’x 8, 11 (2d Cir. 2017)

(summary order) (“[C]ertain facts can support an inference that a defendant willfully violated his

duty to obey tax laws, including the defendant’s prior taxpaying record.”).

       The government may also introduce evidence that the defendants provided false and

misleading information to, and withheld material information about the nature and extent of the

Malfunction from, Meridian Bioscience, Inc., in connection with Meridian’s acquisition of

Magellan in 2016. This evidence is intrinsic to the crimes charged as it is relevant to the

defendants’ motive to defraud customers and the FDA, namely, to avoid anything that could

interfere with or scuttle a possible sale of the company or adversely affect the price another

company would be willing to pay to acquire Magellan. See, e.g., Indictment ¶¶ 1, 31–33. It is well-

settled that evidence of other acts that are “intrinsic to the crime for which the defendant is on

trial” is admissible without regard for the requirements of Rule 404(b). United States v. Epstein,

426 F.3d 431, 439 (1st Cir. 2005) (citation and internal quotation marks omitted) (affirming



                                                21
      Case 1:23-cr-10094-PBS          Document 209         Filed 01/30/25      Page 22 of 26




admission of defendant’s tax return because the return was “intertwined with the crime” insofar as

it reported some of the income he received from the wire fraud scheme, but not all of it, suggesting

knowledge of the fraud); United States v. Taylor, 284 F.3d 95, 101 (1st Cir. 2002) (affirming

admission of reference to defendant’s prior drug transaction on consensual recording with

cooperating witness “as part and parcel of an on-going conversation taking place during the crime

itself,” and citing United States v. Kennedy, 32 F.3d 876, 885 (4th Cir. 1994), for the proposition

that “Rule 404(b) is not applicable to evidence of crimes that are necessary to complete the story

of the charged crime”). Here, this evidence is essential to complete the story of the charged crime.

It is also, in any event, equally admissible under Rule 404(b) as evidence of the defendants’ motive,

intent to defraud, preparation, plan, knowledge, and absence of mistake or accident.

       G.      Advice of counsel defense

       The Court has ordered the defendants to inform the government whether they intend to rely

on advice or involvement of counsel by February 10, 2025 (Dkt. 200). If the defendants do intend

to do so, they must disclose to the government any materials or information they expect to offer

or otherwise rely upon in support of such a defense. See Dkt. 187. In the event Magellan asserts

the attorney-client privilege, the Court may need to review the materials in camera and decide

whether the defendants’ constitutional rights take precedence over Magellan’s entitlement to the

privilege. If the Court rules in the defendants’ favor, the government will need time to review the

materials in advance of trial.

       H.      Self-serving hearsay of defendants

       As discussed in the motion in limine filed today, the government will object to any attempt

by the defendants to offer their own out-of-court statements to prove the truth of the matter asserted

as inadmissible hearsay. Unlike the government, the defendants may not offer or elicit their own



                                                 22
      Case 1:23-cr-10094-PBS           Document 209        Filed 01/30/25    Page 23 of 26




prior statements at trial because those statements are hearsay as to them. United States v. Rivera-

Hernandez, 497 F.3d 71, 80 (1st Cir. 2007). The defendants are not permitted to circumvent this

rule by eliciting their own statements through the cross-examination of other witnesses. United

States v. Bauzo-Santiago, 49 F. Supp. 3d 155, 157–58 (D.P.R. 2014) (prohibiting defendant from

eliciting defendant’s “out-of-court statement during cross-examination of government witnesses

to impeach the witnesses”) (citing Bemis v. Edwards, 45 F.3d 1369, 1372 (9th Cir. 1995) and

United States v. Hudson, 970 F.2d 948, 956 (1st Cir. 1992)). Further, merely because the

government presents only a subset of the defendants’ out-of-court statements, the defendants are

not entitled to present other statements under the rule of completeness absent a need to avoid

“misunderstanding or distortion.” United States v. Simonelli, 237 F.3d 19, 28 (1st Cir. 2001) (rule

of completeness “does not permit the admission of otherwise inadmissible evidence simply

because one party has referred to a portion of such evidence, . . . rather, it operates to ensure

fairness where a misunderstanding or distortion created by the other party can only be averted by

the introduction of the full text of the out-of-court statement”).

V.     Stipulations

       The government will meet and confer with the defendants in an effort to reach agreement

regarding the admission of evidence and any other matters that can be resolved by stipulation.

VI.    Defense Case

       The defendants have indicated that they intend to put on an affirmative case at trial and

they produced their witness and exhibit lists to the government on January 10, 2025. The

government has requested reciprocal discovery and reverse Jencks material for the individuals on

the defense witness list, pursuant to Fed. R. Crim. P. 26.2, but the defense has not yet produced




                                                  23
       Case 1:23-cr-10094-PBS         Document 209        Filed 01/30/25      Page 24 of 26




any such material. The government is entitled to receive, and the defendants are obligated to

produce, these materials.

        To the extent the defendants introduce evidence or testimony in their defense case, the

government requests the opportunity to rebut such newly presented evidence or argument and

requests permission—if necessary—to recall witnesses to testify about the defense evidence.

VII.    Other matters

        A.     Nullification arguments

        As set forth in the motion in limine filed today, the government will object to questions or

arguments from the defendants that call for jury nullification. As an example, the government will

object to questions or arguments aimed at persuading the jury that the defendants should not be

found guilty of the crimes charged in the indictment because Becton Dickinson’s reformulation of

its test tube stopper contributed to the Malfunction. The government also will object to questions

or arguments aimed at jury bias against government bureaucracy or inefficiency, particularly with

respect to the FDA or CDC. Likewise, the government will object to questions or arguments

concerning the defendants’ personal or family circumstances and the potential punishment or other

consequences they face if convicted or have faced as a result of being charged.

        B.     Corporate resolution

        As the Court is aware, Magellan Diagnostics, Inc. was convicted of FDCA device

misbranding charges and ordered to pay a $21.8 million criminal fine and $10.9 million in

forfeiture. United States v. Magellan Diagnostics, Inc., 24-cr-10146-PBS (Dkt. 15, 24). Pursuant

to a deferred prosecution agreement (DPA), Magellan also is required to pay no less than $9.3

million to compensate patients who suffered economic harm caused by prolonged lead exposure

and delayed detection of lead poisoning due to the Malfunction and to retain a corporate monitor



                                                24
     Case 1:23-cr-10094-PBS          Document 209        Filed 01/30/25     Page 25 of 26




to oversee its FDA regulatory compliance program and its victim compensation obligations.

United States v. Magellan Diagnostics, Inc., 24-cr-10144-PBS (Dkt. 4). The parties have agreed

to avoid any reference to the fact of Magellan’s conviction, the terms of its punishment, or the

company’s compliance and victim compensation obligations under the DPA.

       C.      Case agents in courtroom

       With the Court’s permission, the government asks that case agents and potential witnesses

Scott Wisnaskas (HHS-OIG) and Benedict Celso (FDA-OCI, retired) be permitted to sit in the

courtroom during the testimony of other witnesses. Other agents from HHS-OIG, FDA-OCI, and

the FBI will be helping to coordinate the timing of witnesses’ appearance and to ensure that the

next witnesses are ready to testify. The government expects those agents will be in and out of the

courtroom for this purpose.

       D.      Electronic presentation of evidence

       With the Court’s permission, the government intends to present its audio-visual and

documentary evidence in electronic format using the Trial Director or another similar trial

management software program. The government anticipates that a paralegal with the U.S.

Attorney’s Office will operate the trial management program.

       E.      Use of PowerPoint Presentation

       With the Court’s permission, the government intends to use PowerPoint presentations

during its opening statement and closing argument, which will allow for a more organized

presentation of the anticipated evidence and summation of the evidence in this case.

       F.      Demonstrative exhibits

       In its case-in-chief, the government intends to offer various demonstrative exhibits, such

as timelines, graphic representations of relevant information, and the LeadCare devices



                                               25
     Case 1:23-cr-10094-PBS           Document 209        Filed 01/30/25       Page 26 of 26




manufactured by Magellan during the relevant time. Such demonstrative exhibits will aid the jury

in understanding the background and context for the evidence and testimony presented and will

not be offered into evidence.

                                                      Respectfully submitted,
                                                      LEAH B. FOLEY
                                                      United States Attorney
                                              By:     /s/ Kelly Begg Lawrence
                                                      JAMES D. HERBERT
                                                      KELLY BEGG LAWRENCE
                                                      LESLIE A. WRIGHT
                                                      Assistant United States Attorneys



                                 CERTIFICATE OF SERVICE

        Undersigned counsel certifies that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                                      /s/ Kelly Begg Lawrence
                                                      Kelly Begg Lawrence
                                                      Assistant United States Attorney

Dated: January 30, 2025




                                                 26
